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                   IN THE UNITED STATES DISTRICT COURT FOR THE j
                             EASTERN DISTRICT OF VIRG1NI
                                                                                      I MT|S
                                       Alexandria Division                           L.

UNITED STATES OF AMERICA                          )
                                                  )   Criminal No. l:13-cr-163
              v.                                  )
                                                  )
YEON HAN,                                         )
     Defendant.                                   )

                                      PLEA AGREEMENT


       Neil H. MacBride, United States Attorney for the Eastern District of Virginia, Chad

Golder, Assistant United States Attorney, the defendant, YEON HAN, and the defendant's

counsel have entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal

Procedure. The terms of the agreement are as follows:

       1.      Offense and Maximum Penalties


       The defendant agrees to waive indictment and plead guilty to a two-count criminal

information charging the defendant with two counts of conspiracy to commit wire fraud, in

violation of Title 18, United States Code, Section 1349. The maximum penalties for Count 1

are: a term of 30 years of imprisonment because the fraud affected a financial institution, a fine

of $1,000,000 or twice the gross gain or loss, full restitution, a special assessment, and 5 years of

supervised release. The maximum penalties for Count 2 are: a term of 20 years of imprisonment,

a fine of $250,000 or twice the gross gain or loss, full restitution, a special assessment, and 3

years of supervised release. The defendant understands that this supervised release term is in

addition to any prison term the defendant may receive, and that a violation of a term of
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